Case 2:23-cv-00589-JRG-RSP Document 11-1 Filed 02/16/24 Page 1 of 2 PageID #: 50




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

                Plaintiff,                                     C.A. No. 2:23-cv-00589-JRG-RSP

        v.                                                     JURY TRIAL DEMANDED

 DEXCOM, INC.,

                Defendant.

                             DECLARATION OF DOLORES SEXTON

 I, Dolores Sexton, declare as follows:

        1.      I am over the age of 18 and competent to make the following declarations. Unless

 otherwise indicated, the statements in this declaration are based upon either my personal

 knowledge or corporate records maintained by Dexcom, Inc. (“Dexcom”) in the ordinary course

 of business that I reviewed. If called as a witness, I could and would testify regarding the facts in

 this declaration.

        2.      I am the Senior Manager of HR Systems for Dexcom. I have been employed by

 Dexcom since June 2013. I am familiar with Dexcom’s corporate structure. Based on my review

 of Dexcom’s business records and my personal knowledge, I am knowledgeable about the matters

 discussed in this declaration and can testify competently to them.

        3.      I understand that Display Technologies, Inc. (“Plaintiff”) filed a patent

 infringement lawsuit against Dexcom in the United States District Court for the Eastern District

 of Texas, Case No. 2:23-cv-00589-JRG-RSP.




                                                  1
Case 2:23-cv-00589-JRG-RSP Document 11-1 Filed 02/16/24 Page 2 of 2 PageID #: 51




          4.    I further understand that Plaintiff alleges that Dexcom’s G5, G6, and G7

 Continuous Glucose Monitoring (CGM) Systems (the “Accused Products”) infringe Plaintiff’s

 U.S. Patent No. 8,671,195.

          5.    Dexcom is a Delaware Company and has its principal place of business at 6340

 Sequence Drive, San Diego, California 92121.

          6.    Dexcom does not have any physical places of business in the Eastern District of

 Texas.


 I declare under penalty of perjury that the foregoing is true and correct.

                            Executed in San Diego, California, on this 16th day of February, 2024.




                                                                   Dolores C Sexton
                                                                  ____________________________
                                                                  Dolores Sexton




                                                   2
